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UNITED STATES DISTRICT COURT                 (ECF)
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - -:
ZURICH AMERICAN INSURANCE COMPANY, : 05 Civ. 9170 (RMB) (JCF)
                                   :
               Plaintiff,          :         MEMORANDUM
                                   :         AND ORDER
     - against -                   :
                                   :
ACE AMERICAN REINSURANCE COMPANY, :
                                   :
               Defendant.          :
- - - - - - - - - - - - - - - - - -:
JAMES C. FRANCIS IV
UNITED STATES MAGISTRATE JUDGE

      This   is   a   reinsurance   case   in   which   the   cedent,   Zurich

American Insurance Company (“Zurich”), alleges that its reinsurer,

R&Q Reinsurance Company f/k/a ACE American Reinsurance Company

(“R&Q”), has breached its obligation to pay its full share of a

settlement reached by Zurich with its insured, P.H. Gladfelter Co.

According to R&Q, its partial denial of reimbursement to Zurich was

based on Zurich’s allegedly unreasonable allocation of policy

limits among the successive policies applicable to the loss.

(Letter of Daryn E. Rush dated Nov. 14, 2006 (“Rush Letter”), at 3-

4).   In response, Zurich contends that R&Q breached its duty of

utmost good faith by failing to follow the fortunes and settlements

of its cedent.        (Letter of James C. La Forge dated Oct. 31, 2006

(“LaForge Letter”), at 5).          Further, Zurich argues that this is

part of a pattern of conduct by R&Q to deny payment to its

reinsureds based on artificial disputes concerning allocation. (La

Forge Letter at 5-6).


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       Zurich has submitted a letter motion pursuant to Rule 37 of

the Federal Rules of Civil Procedure seeking to compel R&Q to

produce documents relating to two lawsuits in which R&Q was found

to have wrongly denied payment to its cedent as well as all

documents relating to any claims denied by R&Q on the basis of

allocation.      R&Q opposes the requested discovery on grounds of

relevance and burden.

       Because motive is generally irrelevant in breach of contract

actions, see Weiskopf v. American Kennel Club, Inc. No. 00-CV-471,

2002    WL   1303022,   at   *6   n.1   (E.D.N.Y.    June   11,     2002);   Major

Oldsmobile, Inc. v. General Motors Corp. No. 93 Civ. 2189, 1995 WL

326475, at *8 (S.D.N.Y. May 31, 1995), “similar acts” evidence is

largely immaterial in such cases.            The case of Brown v. The Paul

Revere Life Insurance Co., No. 00 Civ. 9110, 2001 WL 1230528

(S.D.N.Y. Oct. 16, 2001), concerned an allegedly wrongful denial of

disability     insurance     benefits.       In   evaluating    a   request   for

production of information about other rejected claims, the court

reasoned as follows:

       The issue in this case is whether plaintiff is “disabled”
       within the meaning of his disability policy. If he is
       not “disabled,” the fact that defendant may have
       wrongfully denied disability benefits to the majority of
       other claimants . . . will not make plaintiff “disabled.”
       Similarly, if plaintiff is “disabled,” the outcome of
       other claims . . . will not make him any less “disabled.”
       Thus, the documents sought are almost entirely irrelevant
       because they do not tend to establish or negate any fact
       material to the case.

Id. at *6.       The same rationale applies here.              Whether R&Q has

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breached its contractual obligations depends upon whether it has

failed to “follow the fortunes” or “follow the settlements” of its

cedent as those terms are used in the relevant policies, not

whether it breached its obligations under other policies.

     Nevertheless, R&Q’s handling of similar claims may well shed

light on the meaning that the parties ascribed to the terms that

they incorporated into the policies at issue.       Again, the court in

Brown dealt with this possibility in the context of disability

insurance:

     To the extent, if at all, that the documents sought bear
     on the interpretation of the terms of plaintiff’s
     disability policy, they may be directly relevant to the
     issues in the case or, alternatively, to credibility.
     For example, any inconsistencies in the defendant’s
     interpretation of contract terms would be relevant to a
     determination of the true meaning of those terms.

Id. at *8.   By the same token, R&Q’s handling of other claims where

the allocation of limits was at issue can provide evidence of how

it has interpreted its obligation to follow the settlements of its

cedent in similar circumstances.        The requested information is

therefore relevant and discoverable.

     In support of its burden argument, R&Q has submitted an

affidavit from Elizabeth Hinkle, the individual responsible for

handling claims for R&Q, including the Zurich claim at issue here.

Ms. Hinkle attests that although R&Q processes thousands of claims,

its computer system is incapable of segregating claims by the

amount of the claim, the type of claim, the identity of the cedent,


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or the reason the claim may have been denied.                      (Affidavit of

Elizabeth     Hinkle   dated   Dec.   11,    2006,       ¶¶   8,   10,   12).     A

sophisticated     reinsurer    that   operates       a    multimillion        dollar

business is entitled to little sympathy for utilizing an opaque

data storage system, particularly when, by the nature of its

business,     it can reasonably anticipate frequent litigation.                   At

the same time, the volume of data accumulated by R&Q makes a search

of its entire database infeasible.            The parties shall therefore

propose   a   protocol   for   sampling     R&Q’s    claim     files     to   obtain

examples of claims files in which issues of the allocation of

policy limits has been addressed.            In order to facilitate that

process, counsel may take the deposition of Ms. Hinkle and other

persons familiar with R&Q’s data storage system.                   To the extent

that R&Q objects to any sampling proposal advanced by Zurich, it

shall support its objections with specific evidence of the cost and

burden involved.

Conclusion

     For the reasons set forth above, Zurich’s motion to compel

discovery is granted to the extent that (1) R&Q shall promptly

provide the requested information relating to the Travelers and

North River cases and (2) by January 31, 2007, the parties shall

submit either a stipulation or separate proposals for sampling

R&Q’s database to obtain claims files in which the allocation of

policy limits was at issue.


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